 Case 1:10-cr-00015-DAK Document 126 Filed 12/21/20 PageID.718 Page 1 of 5




_________________________________________________________________________

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH



UNITED STATES OF AMERICA,
                                                    MEMORANDUM DECISION
         Plaintiff,                                     AND ORDER

vs.
                                                        Case No. 1:10-CR-15-DAK
GILBERT RODRIGUEZ,
                                                           Judge Dale A. Kimball
         Defendant,




       This matter is before the court on Defendant’s Motion for Reduction of Sentence under

18 U.S.C. § 3582(c)(2). The parties have fully briefed the motion, and the court concludes that

oral argument would not significantly aid in its determination of the motion. The court,

therefore, enters the following Memorandum Decision and Order based on the parties’

submissions and the law and facts relevant to Defendant’s motion.

       A federal district court has limited jurisdiction to modify a term of imprisonment once it

has been imposed. United States v. Smartt, 129 F.3d 539, 540 (10th Cir.1997). Section

3582(c)(2), however, allows a district court to modify a sentence when it has sentenced a

defendant “based on a sentencing range that has subsequently been lowered by the Sentencing

Commission” and the Sentencing Commission makes the amendment retroactive. 18 U.S.C. §

3582(c)(2); Hughes v. United States, 138 S. Ct. 1765, 1773 (2018).

       In 2014, the Sentencing Commission issued Amendment 782 to the United States

Sentencing Guidelines, granting a two-level reduction in certain drug offense levels, and
 Case 1:10-cr-00015-DAK Document 126 Filed 12/21/20 PageID.719 Page 2 of 5




Amendment 788 making that change retroactive. The parties agree that this reduction would

have applied to Defendant if he had entered into a typical plea agreement. But they disagree as

to whether Defendant’s Rule 11(c)(1)(C) plea agreement allows him retroactive relief from his

sentence.

       In 2011, Defendant entered into a Rule 11(c)(1)(C) plea agreement, agreeing to a 180-

month sentence. Defendant’s base offense level was 36, based on the weight of the drugs

involved, which was reduced by 3 levels for acceptance of responsibility for a total offense level

of 33. Combined with a criminal history category IV, Defendant’s Guideline range would have

been 188-235 months. His plea agreement, therefore, provided him with a sentence eight months

below the applicable Guideline range. After Amendment 782’s retroactive two-level reduction,

however, his new Guideline range would be 151-188 months.

       In 2015, Defendant previously sought a reduction in his sentence under Amendment 782.

This court denied his previous motion under Freeman v. United States, 564 U.S. 522 (2011).

The Tenth Circuit essentially upheld that denial but instructed the court to dismiss the motion for

lack of jurisdiction because Defendant was not entitled to relief under § 3582. The Tenth Circuit

also applied Freeman, specifically Justice Sotomayor’s concurrence because there was no court

majority and her concurrence was the narrowest grounds of decision. The Tenth Circuit agreed

with this court that under the Sotomayor standard in Freeman Defendant’s plea agreement was

not “based” on the Guidelines and he could not get retroactive relief.

       Defendant’s present motion, however, is based on the new standard expressed in Hughes

v. United States, 138 S. Ct. 1765 (2018). In Hughes, the Court formed a majority and clarified

that the proper standard is to grant Defendants who entered into Rule 11(c)(1)(C) plea

agreements retroactive relief under § 3582(c)(2) as long as the Guidelines range was “a relevant




                                                 2
 Case 1:10-cr-00015-DAK Document 126 Filed 12/21/20 PageID.720 Page 3 of 5




part of the analytic framework the judge used to determine the sentence or to approve the

agreement.” Id. at 1775. The Court recognized that “a sentence imposed pursuant to a Type-C

agreement is no exception to the general rule that a defendant’s Guidelines range is both the

starting point and a basis for his ultimate sentence.” Id. at 1776. “The Sentencing Guidelines

prohibit district courts from accepting Type-C agreements without first evaluating the

recommended sentence in light of the defendant’s Guidelines range.” Id. Therefore, “in the

usual case the court’s acceptance of a Type-C agreement and the sentence to be imposed

pursuant to that agreement are ‘based on’ the defendant’s Guidelines range.” Id. While

recognizing that the “usual case” will be “based on” the defendant’s Guidelines range, the Court

also explained that there will be narrow exceptions where there is a “clear demonstration, based

on the record as a while, that the court would have imposed the same sentence regardless of the

Guidelines.” Id.

       In this case, the United States argues that this is one of those narrow exceptions because

the Tenth Circuit has already found that Defendant’s plea agreement was not based on his

Guidelines range. But such a view ignores the fact that the Tenth Circuit made that finding using

the Sotomayor standard from Freeman. Analyzing the case under the Hughes standard, the court

concludes that Defendant’s plea agreement was the usual type of 11(c)(1)(C) plea agreement,

which used Defendant’s Guidelines range as a foundational framework for the eventually agreed

upon sentence. Defendant’s 180-month sentence was only slightly under the low-end of the

applicable Guidelines range and was clearly a compromise reached in relation to the applicable

Guidelines range. The plea agreement itself recognizes that the court had to consider the

Guidelines in determining Defendant’s sentence. The transcript of the sentencing hearing, where

the court had to accept the plea agreement, makes clear that the parties were assuring the court




                                                3
 Case 1:10-cr-00015-DAK Document 126 Filed 12/21/20 PageID.721 Page 4 of 5




that the 180-month sentence was appropriate in relation to the applicable 188-235 months range.

The court’s comment that 180 months was a long sentence was intended to mean that 180

months was adequately long in relation to the applicable Guidelines range. This court would not

have sentenced Defendant to a sentence as long as 180 months absent a Guidelines range of 188-

235 months. Under Hughes, therefore, the court believes that Defendant is entitled to

Amendment 782’s two-level reduction. Applying that reduction retroactively, Defendant’s new

applicable Guidelines range is 151-188 months

       The United States further argues that even if Defendant is eligible for relief under

Amendment 782, the court should not reduce Defendant’s sentence in light of the factors set

forth in § 3553(a). The court’s review of the § 3553(a) factors, however, does not demonstrate

anything that would preclude Defendant from the two-level reduction. The court recognizes that

Defendant’s original 180-month sentence is within the new applicable Guidelines range.

However, there is nothing in Defendant’s offense conduct or background that would suggest to

the court that Defendant should not be sentenced at the low end of the applicable Guidelines

range. The parties and court previously believed that it was appropriate for the court to sentence

Defendant below the applicable Guidelines range. Defendant’s exemplary conduct while he has

been incarcerated indicates that such a belief was warranted and supports a low-end sentence

within the new applicable Guidelines range.

       Based on the above reasoning, and taking into account the policy statements set forth at

USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a) to the extent that they

are applicable, the court concludes that Defendant is entitled to the retroactive two-level offense

level reduction in Amendment 782, his new applicable Guidelines range is 151-188 months, and

the appropriate sentence within that range is 151 months. Therefore, Defendant’s Motion for




                                                 4
    Case 1:10-cr-00015-DAK Document 126 Filed 12/21/20 PageID.722 Page 5 of 5




Reduction of Sentence [ECF No. 118] is GRANTED and Defendant’s previously imposed

sentence of imprisonment of 180 months is reduced to 151 months.

        Given the good time credit Defendant has earned with the Bureau of Prisons, if this 151-

month sentence is less than the amount of time Defendant has already served, the sentence is

reduced to TIME SERVED. If Defendant’s sentence is reduced to time served, this Order is

STAYED FOR UP TO FOURTEEN DAYS to verify Defendant’s place of residence upon

release, establish a release plan, make appropriate travel arrangements, and ensure Defendant’s

safe release.1 As soon as practicable, Defendant must provide the complete address where he

will reside upon release to the United States Probation Office in the district where he will be

released. There shall be no delay in making an appropriate release plan and release

arrangements. If more than fourteen days are needed to ensure an appropriate release plan or

arrangements, the parties shall immediately notify the court and provide cause as to why the stay

should be extended.

        DATED this 21st day of December, 2020.

                                                             BY THE COURT:



                                                             __________________________________
                                                             DALE A. KIMBALL,
                                                             United States District Judge




1
  The court is mindful that Defendant’s son recently passed away. But the court also recognizes that Defendant’s
safe and orderly release must be paramount.


                                                        5
